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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        IN RE:
                                   7                                                      Case No. 13-md-02420-YGR (DMR)

                                   8    LITHIUM ION BATTERIES ANTITRUST
                                        LITIGATION                                        ORDER RE JOINT DISCOVERY
                                   9                                                      LETTER RE SUBPOENA TO THIRD
                                                                                          PARTY BLACKBERRY
                                  10                                                      CORPORATION
                                  11                                                      Re: Dkt. Nos. 945

                                  12          The court has reviewed the November 10, 2015 joint discovery letter brief filed by
Northern District of California
 United States District Court




                                  13   Defendants Samsung SDI America, Inc., Samsung SDI Co., Ltd. (collectively, “Samsung”), and

                                  14   third party BlackBerry Corporation (“BlackBerry”). [Docket No. 945.] Samsung and BlackBerry

                                  15   shall meet and confer regarding BlackBerry’s request for a protective order limiting access to the

                                  16   information it will produce in response to Samsung’s subpoena and submit a jointly-proposed

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                                  17   protective order by no later than December 2, 2015.
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                                  19          IT IS SO ORDERED.                                                                D
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                                  20   Dated: November 16, 2015                                         IT IS S                         R NIA
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                                  21
                                                                                                    Donna M. Ryu        Ryu
                                                                                                               nna M. Judge
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                                                                                                            DoMagistrate
                                                                                                 United States
                                                                                                         Judge
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